8/29/2021                                  Fundraiser by Erin Finley Karl : Vet-Owned Small Biz SUED for Sharing a Viral Meme


        • October 8, 2019
                     How by Erin Finley Karl, Organizer
                                    Start a                                                    Sign
            Search             it                                                                                Share          Donate
             Hello, friends.                      GoFundMe                                     in
                            works

             First, WOW! We have surpassed 20% of the goal, which is amazing. That covers my legal
             fees and retainers so far, which is an ENORMOUS weight off my chest. Thank you!

   Vet-Owned             Small Biz SUED for Sharing a Viral
     So, Bradley and his attorney have filed their answers to our counterclaims.
   Meme
             http://bit.ly/answerstocounterclaim

             To understand it, you'll need to read it side-by-side with the counterclaims themselves
             (linked on the original fundraiser page.)

             So, what now? Well, we keep going. More to come, I'm sure!

        • September 22, 2019 by Erin Finley Karl, Organizer

             I just wanted to take a moment to thank all of you for your support and generosity. We've
             already raised enough to cover the retainers and fees that I've had to pay up until this
             point. That's amazing! If you haven't yet, please hit the SHARE button on this GoFundMe
             to share it to your social media accounts and email lists.
                           Erin Finley Karl is organizing this
             More to come! fundraiser.


             Erin The short version:

                     A veteran-owned small business is being sued for
                     copyright infringement over a viral meme shared
                     on its business Facebook page. The purpose of this
                     GoFundMe is to raise money to cover legal fees
                     expected to be necessary to defend her business in
                     the lawsuit.

                     The long version:


              My name is Erin Karl. I'm an actively drilling Air
              Forceupdates
         Fundraiser reservist(18)
                               and the owner of Analytical
              Grammar, a company started by my mother more
                     than two decades ago when she wrote a grammar
                              Donate now                                          Share
                     curriculum for her 8th grade public school
                     classroom  She passed away inDocument
                          Case 5:19-cv-00249-FL     2015 and now
                                                               93-3I Filed 09/02/21 Page 1 of 2
https://www.gofundme.com/f/vetowned-small-biz-sued-for-sharing-a-viral-meme                                                              1/9
8/29/2021                                  Fundraiser by Erin Finley Karl : Vet-Owned Small Biz SUED for Sharing a Viral Meme
              classroom. She passed away in 2015, and now I
              run the company from the basement of my home in
        • October   8, 2019 by Erin Finley Karl, Organizer
              North Carolina.
          Hello, friends.
                 You can learn about my company on our website:
            First,www.analyticalgrammar.com
                   WOW! We have surpassed 20% of the goal, which is amazing. That covers my legal
            fees and retainers so far, which is an ENORMOUS weight off my chest. Thank you!
                 Over the last few years I've grown a large
            So, Bradley andpresence
                 Facebook   his attorney
                                     on myhave  filed their
                                            company         answers
                                                        page. It nowto our counterclaims.
                has nearly 800,000 followers. Our page is known
            http://bit.ly/answerstocounterclaim
                for daily grammar lessons, grammar fails, and a
                deep love for puns.
            To understand it, you'll need to read it side-by-side with the counterclaims themselves
            (linked onour
                 Visit theFB
                           original fundraiser page.)
                              page here:
                 www.facebook.com/analyticalgrammar
            So, what now? Well, we keep going. More to come, I'm sure!

        • September
              In Dec 2017  we shared
                      22, 2019  by ErinaFinley
                                         picture ofOrganizer
                                               Karl, a visual pun
                 that was going viral around the internet. It also
            I just wanted to take a moment to thank all of you for your support and generosity. We've
                 went viral from our page.
            already raised enough to cover the retainers and fees that I've had to pay up until this
            point. That's amazing! If you haven't yet, please hit the SHARE button on this GoFundMe
                 Fast forward to August 2019. Analytical Grammar
            to share it to your social media accounts and email lists.
                 was served a lawsuit on behalf of Matthew Bradley
                 of Windsor, California, who says he created the
            More to come!
                 meme. There had previously been no
                 communication between Bradley and AG.
            Erin

                  Representing Bradley is New York attorney
                  Richard Liebowitz.

                  Here are a few articles about this well-known
                  copyright lawyer:

                  Slate.com


                  Hollywood Reporter

              TechDirt.com
         Fundraiser updates (18)

                  Erin has Dan Booth, a lawyer experienced with
                  Liebowitz,Donate   now Dan has written his own
                             in her corner.                                                             Share
                  blog Case
                       post about the lawsuit. Document 93-3 Filed 09/02/21 Page 2 of 2
                            5:19-cv-00249-FL
https://www.gofundme.com/f/vetowned-small-biz-sued-for-sharing-a-viral-meme                                                     2/9
